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 8 and Henry Aguila
 9
10                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
11
12   THEE AGUILA, INC, a California            ) Case No.
13   Corporation; HENRY AGUILA, an             )
     individual,                               ) COMPLAINT FOR:
14                 Plaintiffs,                 )
15                                             ) (1) BREACH OF INSURANCE
                       v.                      )     CONTRACT;
16
                                               ) (2) BREACH OF THE COVENANT
17   ADMIRAL INSURANCE                         )     OF GOOD FAITH AND FAIR
18   COMPANY, a Delaware Corporation,          )     DEALING; and
     DOES 1-10, Inclusive,                     ) (3) DECLARATORY RELIEF
19                                             )
20               Defendants.                   ) DEMAND FOR JURY TRIAL
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                                                                      COMPLAINT
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 1         Plaintiffs Thee Aguila, Inc. (“TAI”), a California corporation, and Henry
 2 Aguila (“Aguila”), a natural person, hereby assert the following claims for relief
 3 against defendant Admiral Insurance Company (“Admiral”) as follows:
 4                            JURISDICTION AND VENUE
 5        1.     Plaintiffs bring their complaint under federal diversity jurisdiction, 28
 6 U.S.C. 1332, as the parties are completely diverse in citizenship and the amount in
 7 controversy exceeds $75,000.
 8        2.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since the
 9 events and omissions that give rise to the claims occurred within this District.
10                                     THE PARTIES
11        3.     Plaintiff TAI is a closely held corporation organized under the laws of
12 the State of California with its principal place of business within the Central
13 District of California.
14                            JURISDICTION AND VENUE
15        4.     Plaintiffs bring their complaint under federal diversity jurisdiction, 28
16 U.S.C. 1332, as the parties are completely diverse in citizenship and the amount in
17 controversy exceeds 75,000.
18        5.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since a
19 substantial part of the events and omissions that give rise to the claims occurred
20 within this District.
21                                     THE PARTIES
22        6.     Plaintiff TAI is a closely held corporation organized under the laws of
23 the State of California with its principal place of business within the Central
24 District of California.
25   7.          Plaintiff Henry Aguila is a natural person residing within this District
26 and a shareholder and officer of TAI.
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 1      8.       Plaintiffs are informed and believe that Defendant Admiral Insurance
 2 Company (“Admiral”) is a corporation organized under the laws of Delaware.
 3 Admiral is not licensed to transact business within the State of California but is
 4 allowed to place insurance in California under the through a surplus lines broker.
 5 Admiral has designated C T Corporation System. 818 West 7th Street, Los Angeles,
 6 CA 90017, as its agent for service of process.
 7        9.     Plaintiffs are presently unaware of the true names of the Defendants
 8 identified under the fictitious names DOES 1-10. On information and belief, DOES
 9 1-10 are responsible in some way for the wrongful acts alleged herein. Plaintiffs
10 plan to amend this Complaint to identify the names of the DOE Defendants as they
11 are discovered.
12                                THE ADMIRAL POLICY
13     10.       Admiral issued a commercial lines insurance policy (“the policy”) that
14 included a Building and Personal Property Coverage Form that provides all-risk
15 coverage for loss of covered property. A copy of the policy is attached as Exhibit
16 “A.”
17     11.       The coverage provisions of the Admiral policy provide in relevant part:
18             A. Coverage
19                   We will pay for direct physical loss of or damage to Covered
20                   Property at the premises described in the Declarations caused
21                   by or resulting from any Covered Cause of Loss.
22
23                   1. Covered Property
24                      Covered Property, as used in this Coverage Part means the type
25                      of property described in this section, A.1., and limited in A.2.
26                      Property Not Covered, if Limit Of Insurance is shown in the
27                      Declarations for that type of property.
28                      a. Building, meaning the building or structure described in the
                             Declarations, including:
                                               3

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 1                         (1) Completed additions;
 2                         (2) Fixtures, including outdoor fixtures;
 3                         (3) Permanently installed:
 4                                 (a) Machinery; and
 5                                 (b) Equipment;
 6                         (4) Personal property owned by you that is used to maintain
 7                              or service the building or it premises, including:
 8                                 (a) Fire-extinguishing equipment;
 9                                 (b) Outdoor furniture;
10                                 (c) Floor coverings; and
11                                 (d) Appliances used for refrigerating, ventilating,
12                                    cooking, dishwashing or laundering;
13 Exhibit “A,” p. 21.
14     12.      The policy provides additional coverages for personal and other types
15 of property specified in the policy. (Exhibit “A,” pp. 21-22.) By endorsement, the
16 policy provides for replacement cost coverage rather actual cash value.
17     13.      The policy includes an endorsement titled CAUSES OF LOSS –
18 SPECIAL FORM, which modifies the policy to cover all direct physical loss unless
19 otherwise excluded in this policy. Under this endorsement, the policy is an all-risk
20 policy. State Farm Fire & Cas. Co. v. Von Der Lieth, 54 Cal. 3d 1123, 1131 (1991)
21     14.      The policy includes business interruption coverage as described in
22 Business Income (And Extra Expense) Coverage Form, CP 00 30 10 12. The
23 Business Income Coverage Form provides “Rental Value” coverage with a limit of
24 $1 million. Rental Value” is defined as rental income “that would have been earned
25 or incurred as rental income from tenant occupancy of the premises,” and
26 “continuing normal expenses incurred in connection with th[e] premises” including
27 payroll and other charges.
28     15.      The pertinent coverage provisions are as follows:

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                                                                               COMPLAINT
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 1              A.   Coverage
 2                   1.   Business Income
 3            Business Income means the:
 4                   a.   Net Income (Net Profit or Loss before income taxes) that
 5                        would have been earned or incurred; and
 6                   b.   Continuing normal operating expenses incurred, including
 7                        payroll.
 8                                               ****
 9              Coverage is provided as described and limited below for one or
10              more of the following options for which a Limit Of Insurance is
11              shown in the Declarations: [¶] Business Income Including
12              “Rental Value”. [¶] Business Income Other Than “Rental
13              Value”. [¶] “Rental Value”. [¶] If option (3) above is selected,
14              the term Business Income will mean “Rental Value” only.
15                                           ****
16              We will pay for the actual loss of Business Income you sustain
17              due to the necessary “suspension” of your “operations” during
18              the “period of restoration”. The “suspension” must be caused by
19              direct physical loss of or damage to property at premises which
20              are described in the Declarations and for which a Business
21              Income Limit Of Insurance is shown in the Declarations. The
22              loss or damage must be caused by or result from a Covered
23              Cause of Loss.
24     16.      The policy includes coverage for “Extended Business Income.” It
25 provides as follows:
26              5.   Additional Coverages
27                   c.   Extended Business Income
28                   ****
                     (2) “Rental Value”
                                             5

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 1
 2               If the necessary “suspension” of your “operations” produces a
 3               “Rental Value” loss payable under this policy, we will pay for
 4               the actual loss of “Rental Value” you incur during the
 5               period that: [¶] (a) Begins on the date property is actually
 6               repaired, rebuilt or replaced and tenantability is restored; and
 7               [¶] (b) Ends on the earlier of: [¶] (i) The date you could restore
 8               tenant occupancy, with reasonable speed, to the level which
 9               would generate the “Rental Value” that would have existed if no
10               direct physical loss or damage had occurred; or [¶] (ii) 60
11               consecutive days after the date determined in (2)(a) above.
12     17.       The policy also provides additional coverage in a Property
13 Enhancement Endorsement. (Exhibit “A,” p. 67.)
14                                    POLICY LIMITS
15     18.       The policy provides for a $5,726,246 per occurrence limit of coverage
16 for loss of or damage to covered property. The policy also provides $1 million in
17 coverage for to business interruption, including loss of rental value. (Exhibit “A,” p.
18 18.) There is no aggregate limit of coverage.
19     19.       The policy defines “occurrence” as follows:
20               The term “occurrence” shall mean any one loss, disaster,
21               casualty or series of losses, disasters, or casualties, arising out of
22               one event. When the term applies to loss or series of losses from
23               the perils of . . . vandalism and malicious mischief, one event
24               shall be considered to be all losses arising during a continuous
25               period of 72 hours. When filing proof of loss, the Insured may
26               elect the moment at which the 72-hour period shall be deemed to
27               have recommenced, which shall not be earlier than the first loss
28               to any covered property occurs. (Exhibit “A,” p. 59.)

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 1                            THE DISPUTE WITH EDRM
 2     20.       TAI owned a commercial property located at 8825 Washington
 3 Boulevard, Pico Rivera, California that went by the name the “El Rodeo.” El Rodeo
 4 was a large property compromised of about 35,007 square feet with kitchen
 5 facilities, full-service bars and related fixtures and improvements. It was operated
 6 as a night club that served alcohol and hosted live music and dancing.
 7     21.       On May 1, 2000, EDRM entered a 15-year lease to occupy the property
 8 and operate the El Rodeo night club. On about February 1, 2006, TAI purchased the
 9 property and became EDRM's landlord. The El Rodeo night club is the property
10 insured under the insurance policy issued by Admiral.
11     22.       In 2012, EDRM, TAI and Aguilla became embroiled in an extremely
12 bitter dispute involving both business and personal issues. The El Rodeo night club
13 was very popular with young customers. TAI attempted to evict EDRM in 2012 and
14 became involved in a related civil lawsuit. EDRM alleged that TAI was unlawfully
15 attempting to run EDRM out of business and take over the night club.
16     23.       While the lawsuit was pending, in about January 2015, EDRM’s
17 principal owner was indicted by a federal grand jury on money laundering and drug
18 dealing charges. EDRM quit paying rent and vacated the property on about April
19 30, 2015.
20     24.       Before moving from the property, EDRM removed substantially all the
21 fixtures, appliances and other improvements of any value. The fixtures and
22 appliances included refrigerators, stoves, freezers, water heaters and other property
23 and equipment. All this property belonged the TAI as the owner and was insured
24 under the Admiral policy. This loss occurred before EDRM moved out of the
25 property. The loss occurring before the EDRM moved out is referred to as the “First
26 Loss.”
27     25.       A second loss occurred after EDRM moved out and is referred to as the
28 “Second Loss.”


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 1      26.      The Second Loss and the First Loss were reported on May 7, 2015, to
 2 the Los Angeles County Sheriff's Department by Robert Hernandez who was
 3 responsible for looking after the property. Hernandez reported that he had locked
 4 the location prior to leaving on May 1, 2015. When arriving on May 7, 2015, he
 5 found that the property had suffered substantial damage. It appeared that persons
 6 had intentionally ransacked the property, removing windows, flooring, and fixtures
 7 throughout the club.
 8      27.      Both the First Loss and the Second Loss were reported to Admiral and
 9 assigned claim number P162902. Since the Plaintiffs suffered two losses at
10 different times caused by occurrences that took place more than 72 hours apart, the
11 losses should have been handled as two claims subject to two separate policy limits.
12               ADMIRAL REFUSES TO FULLY REIMBURSE TAI
13      28.      So far, Admiral has reimbursed TAI $2.243 million for property
14 damage and $1 million for loss of rents.
15      29.      Admiral delayed payment for TAI’s loss and when it did pay, the
16 amounts were inadequate to compensate TAI for its loss.
17      30.      The loss was the result of two occurrences. The First Loss occurred
18 when the tenant removed the appliances and many other improvements before
19 moving out. The tenant essentially removed all the property and equipment that had
20 value and was capable of being moved. The appliances, fixtures and other property
21 belonged to TAI and were insured under the Admiral policy. This First Loss
22 occurred prior to or on April 30, 2015.
23      31.      Between to May 1, 2015, and May 7, 2015, what must have been a
24 group of persons vandalized the property. Walls, flooring, and windows were
25 ripped out. Windows, lighting fixtures and other property was either taken or
26 destroyed. The doors were smashed. The indoor electrical and plumbing systems
27 were either stolen or damaged beyond repair.
28      32.      The damage to the property included substantial structural damage.
     Walls, flooring, window frames, and side framing were all damaged.
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 1     33.      Admiral greatly underestimated the cost to restore the property.
 2 Admiral, for example, refused to reimburse TAI for the property damage associated
 3 with the First Loss. Admiral never paid the loss that occurred when the appliances,
 4 fixtures and other property were removed before the tenant moved out.
 5     34.      Admiral also greatly underestimated the covered amount of the First
 6 Loss since it refused to acknowledge two separate losses. Admiral treated the two
 7 losses as one loss resulting from one occurrence and thus applied a single per
 8 occurrence limit to both the property loss and the business interruption coverage.
 9     35.      Admiral paid only one per occurrence policy limit for business
10 interruption coverage when in fact TAI suffered covered business interruption loss
11 that greatly exceed the per occurrence policy limit. Admiral refused to fully
12 reimburse TAI for its loss of business income, primarily because it treated the two
13 vandalism events as one occurrence even though the loss was the result of two
14 separate occurrences.
15     36.      Admiral underpaid TAI for its covered loss both because it did not fully
16 reimburse TAI for the cost of replacing the damaged and lost property and because
17 it treated the separate vandalism events as one occurrence subject only to one policy
18 limit.
19                  TAI LOSES THE PROPERTY TO FORECLOSE
20     37.      On July 22, 2015, the property was refinanced for $5.7 million, and
21 Pico Rivera First Mortgage Investors LP (“PRFMI”) became the senior lienholder
22 on the property. At the time of the refinancing, the property was in disrepair. As a
23 result of the vandalism and destruction of property, the City of Pico Rivera revoked
24 TAI’s conditional use permit to operate the El Rodeo night club. The City
25 demanded that an entirely new more modern facility be constructed before a new
26 conditional use permit would issue. The replacement cost to build a new facility
27 would be a covered loss since the revocation of the conditional use permit was an
28 ensuing loss proximately caused by the loss associated with the First Loss and the
     Second Loss.
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  1      38.      When Plaintiffs suffered their First Loss and Second Loss, their
  2 liability carrier was defending them in a civil lawsuit where EDRM sought damages
  3 on account of actions allegedly taken by Plaintiffs to destroy EDRM’s night club
  4 business so that TAI could operate a similar business on the property. In July 2015,
  5 Plaintiff’s liability insurer withdrew from the defense of the EDRM action.
  6      39.      The combination of Admiral failing to timely reimburse Plaintiffs for
  7 their loss and the burden of defending the EDRM v. TAI action rendered Plaintiffs
  8 unable to make the mortgage payments on the property.
  9      40.      Aguilla personally guaranteed the mortgage on the El Rodeo property.
 10 With Aguilla being unable to pay the mortgage, PRFM foreclosed on the property in
 11 December 2017. PRFM later sued Aguilla to recover on the personal guarantee.
 12 Aguilla settled that lawsuit on about February 24, 2020, for $3.867 million.
 13      41. TAI would not have lost the El Rodeo property to foreclosure and Aguilla
 14 would not have incurred the $3.867 in personal liability had Admiral fully and
 15 timely reimbursed TAI for its loss.
 16                                    FIRST CLAIM
 17                              BREACH OF CONTRACT
 18                               (Against All Defendants)
 19      42.      Plaintiffs incorporate by this reference all the prior paragraphs above as
 20 if fully set forth herein.
 21      43.      Admiral has breached its duty to fully reimburse Plaintiffs for their
 22 First Loss and Second Loss. Admiral failed to recognize the two separate
 23 occurrences and greatly underestimated the cost to replace damaged and lost
 24 property, thereby breaching the terms of its policy.
 25      44.      By treating the losses as one occurrence, Admiral intentionally
 26 breached the terms of its policy and deprived Plaintiffs of the full amount due under
 27 the terms of the policy.
 28      45.      As a result of Admiral’s breach, Plaintiffs have suffered damages
      within the purview of Civil Code § 3300 which provides that for breach of contract,
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  1 “the measure of damages . . . is the amount which will compensate the party
  2 aggrieved for all the detriment proximately caused thereby, or which, in the ordinary
  3 course of things, would be likely to result therefrom.” These damages include all
  4 the difference between the benefits due under the Admiral policy and those actually
  5 paid in addition to other damages flowing from the breach.
  6     46.       Plaintiffs have suffered lost profits, loss of the El Rodeo property to
  7 foreclosure and liability $3.867 to PRFM, all flowing from Admiral’s breach of its
  8 contractual obligations under the policy in addition to other damages to be proven at
  9 trial.
 10                                   SECOND CLAIM
 11                 BREACH OF THE COVENANT OF GOOD FAITH
 12                  AND FAIR DEALING (INSURANCE BAD FAITH
 13                                (Against All Defendants)
 14     47.       Plaintiffs incorporate by this reference all the prior paragraphs above as
 15 if fully set forth herein.
 16     48.       Admiral owed a duty to pay Plaintiffs benefits due promptly and fully
 17 under the Admiral policy as alleged herein. Admiral acted unreasonably and in bad
 18 faith by not paying all the benefits due under its policy and by unreasonably
 19 delaying payments of the benefits that were paid.
 20     49.       As a result of Admiral’s unreasonable failure to promptly pay the
 21 benefits due under its policy, Plaintiffs suffered damages measured, in part, by the
 22 benefits due under the policy and benefits actually paid. Plaintiffs also suffered
 23 additional damages such as lost profits, loss of the El Rodeo property to foreclosure
 24 and liability of $3.867 to PRFM, all flowing from Admiral’s tortious breach of its
 25 contractual obligations under the policy in addition to other damages to be proven at
 26 trial. Plaintiffs also suffered damages in the form of attorney’s fees necessary to
 27 prosecute this action for which Admiral is liable. Aguilla also suffered emotional
 28 distress and other related damages. Aguilla, for example, spent hundreds of hours


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  1 managing this and other litigation which constitute damages flowing from Admiral’s
  2 unreasonable breach.
  3      50.       All these damages are within the purview of Civil Code § 3333 which
  4 provides that for “the breach of an obligation not arising from contract, the measure
  5 of damages . . . is the amount which will compensate for all the detriment
  6 proximately caused thereby, whether it could have been anticipated or not.”
  7      51.       Admiral’s unreasonable breach of its contractual obligations was
  8 malicious and oppressive within the meaning of Civil Code § 3294. Admiral’s
  9 conduct was despicable and carried out with a willful and conscious disregard of the
 10 rights of the Plaintiffs. Plaintiffs are therefore entitled to an award of punitive
 11 damages.
 12                                      THIRD CLAIM
 13                                DECLARATORY RELIEF
 14                                  (Against All Defendants)
 15         52.    Plaintiffs incorporate by this reference all the prior paragraphs above as
 16 if fully set forth herein.
 17         53.    There is a present controversy between Plaintiffs on the one hand and
 18 Admiral on the other. Admiral contends that it has fulfilled its contractual
 19 obligations arising out of the losses described above. Plaintiffs contend that
 20 Admiral has not fully reimbursed Plaintiffs for the damage to and loss of the El
 21 Rodeo Property. Plaintiffs contend that Admiral’s breach was so unreasonable as to
 22 amount to tortious breach of the covenant of good faith and fair dealing. Thus, there
 23 exists a controversy between the parties.
 24         54.    Plaintiffs seek a declaration from this Court to determine the respective
 25 rights and duties of the parties. Plaintiffs request that this Court determine that
 26 Admiral unreasonably breached its duty to pay policy benefits promptly and fully.
 27         55.    Plaintiffs further request that this Court determine that Admiral’s
 28 refusal to pay policy benefits fully and promptly was unreasonable as a matter of
      law, entitling Plaintiffs to recover the costs and fees of bring this action, contract
                                                  12

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  1 damages in addition further damages due to Admiral’s tortuous breach of the
  2 covenant of good and faith and fair dealing since Plaintiffs have pleaded a tort claim
  3 for insurance bad faith.
  4        WHEREFORE, Plaintiffs seek relief as follows:
  5        1.    For all general, special, consequential, incidental, and other damages
  6 sustained by Plaintiffs and caused by Defendant’s actions as alleged herein;
  7        2.    For an award of punitive damages on account of the Admiral’s tortious
  8 conduct as alleged herin;
  9        3.    For attorney fees incurred herein as allowed under Brandt v. Superior
 10 Court (1985) 37 Cal.3d 813;
 11        4. For all costs of suit; and
 12        5. For such other relief that the Court deems just and proper.
 13
      Dated: December 13, 2021             NT Law
 14
 15
                                           /s/ Julie N. Nong
 16                                        _____________________
 17                                        Julie N. Nong
                                           Attorney for Plaintiffs Thee Aguila, Inc., and
 18                                        Henry Aguila
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                                  DEMAND FOR JURY TRIAL
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  2
             Plaintiffs hereby demand a jury trial for all claims to which the right to a jury
  3
      trial exists.
  4
      Dated: December 13, 2021                NT Law
  5
  6                                           /s/ Julie N. Nong
  7                                           _______________________
                                              Julie N. Nong
  8                                           Attorney for Plaintiffs Thee Aguila, Inc., and
  9                                           Henry Aguila
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